                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

HENRY E. HILDEBRAND, III,                        )
CHAPTER 13 TRUSTEE,                              )
                                                 )
       Plaintiff,                                )     Case No. 3:21-cv-00746
                                                 )
v.                                               )     District Judge Trauger
                                                 )
THE LAMPO GROUP, LLC,                            )     Jury Demand
                                                 )
       Defendant.                                )

                           JOINT STIPULATION OF DISMISSAL

       The parties, by and through the undersigned counsel and pursuant to Rule 41 of the

Federal Rules of Civil Procedure, jointly stipulate to dismissal of this case with prejudice. Each

party will bear their own attorney’s fees and costs.

                                              Respectfully submitted,


                                              /s/Leslie Sanders
                                              Leslie Sanders (TN #18973)
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                                              Attorney for Plaintiff



                                 CERTIFICATE OF SERVICE

       I certify that, on June 16, 2022, I filed this Joint Stipulation of Dismissal via the Court’s

electronic filing system, which will automatically notify and send a copy of that filing to:

Leslie Sanders
Daniel Crowell
Attorneys for Defendant



                                              /s/ James M. Davis
                                              James M. Davis (TN #025910)
                                              Attorney for Plaintiff




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